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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 19-CR-00035-MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   ROSELLE CIPRIANO,                                   DATE: October 8, 2020
                                                         TIME: 10:00 a.m.
15                                Defendant.             COURT: Hon. Morrison C. England, Jr.
16

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18          This case is set for a status conference on October 8, 2020. By this stipulation, the parties

19 request to continue the matter to October 22, 2020, and to exclude time between October 8, 2020 and

20 October 22, 2020, under Local Code T4.
21          On May 13, 2020, this Court issued General Order 618, which suspends all jury trials in the

22 Eastern District of California “until further notice.” Further, pursuant to General Order 611, this Court’s

23 declaration of judicial emergency under 18 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s

24 Order of April 16, 2020 continuing this Court’s judicial emergency, this Court has allowed district

25 judges to continue all criminal matters to a date after May 2, 2020.1 This and previous General Orders,

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            A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
            1

28 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
   will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
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 1 as well as the declarations of judicial emergency, were entered to address public health concerns related

 2 to COVID-19.

 3          Although the General Orders and declarations of emergency address the district-wide health

 4 concern, the Supreme Court has emphasized that the Speedy Trial Act’s end-of-justice provision

 5 “counteract[s] substantive openendedness with procedural strictness,” “demand[ing] on-the-record

 6 findings” in a particular case. Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-

 7 record findings, there can be no exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such

 8 failure cannot be harmless. Id. at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153

 9 (9th Cir. 2000) (explaining that a judge ordering an ends-of-justice continuance must set forth explicit
10 findings on the record “either orally or in writing”).

11          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

12 and inexcusable—General Orders 611, 612, 617, and 618 and the subsequent declaration of judicial

13 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the

14 judge granted such continuance on the basis of his findings that the ends of justice served by taking such

15 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

16 § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of

17 the case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

18 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

19          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”

20 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address
21 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

22 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-

23 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d

24 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.

25 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to

26 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).
27 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

28 by the statutory rules.

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 1                                              STIPULATION

 2         Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 3 through defendant’s counsel of record, hereby stipulate as follows:

 4         1.      By previous order, this matter was set for status on October 8, 2020.

 5         2.      By this stipulation, defendant now moves to continue the status conference until October

 6 22, 2020, and to exclude time between October 8, 2020, and October 22, 2020, under 18 U.S.C.

 7 § 3161(h)(7)(A), B(iv) [Local Code T4].

 8         3.      The parties agree and stipulate, and request that the Court find the following:

 9                 a)     Due to the COVID-19 pandemic, it takes longer than usual to coordinate meetings

10         and interviews and to collect evidence in the preparation for trial.

11                 b)     The government has represented that the discovery associated with this case

12         includes audio recordings, reports, photographs, and physical evidence that has been produced

13         directly to counsel and/or made available for inspection and copying. Testing for some of the

14         substances found at the defendants’ residence and storage facility is ongoing and continues to be

15         produced upon completion. Lab results were last produced in April 2020. All of this discovery

16         has been either produced directly to counsel and/or made available for inspection and copying.

17                 c)     On October 5, 2020, defendant’s co-defendant, Henry Benson, filed a motion to

18         dismiss Count 7 of the Indictment. That motion is scheduled to be heard on October 22, 2020.

19         The Court already excluded time for Henry Benson through October 22, 2020, under Local Code

20         T4.

21                 d)     Counsel for defendant desires additional time to review the electronic evidence,

22         review the physical evidence, meet with his client to discuss resolution options and case strategy,

23         conduct independent legal and factual research, and otherwise prepare for trial.

24                 e)     Counsel for defendant believes that failure to grant the above-requested

25         continuance would deny him the reasonable time necessary for effective preparation, taking into

26         account the exercise of due diligence.

27                 f)     The government does not object to the continuance.

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 1                 g)      Based on the above-stated findings, the ends of justice served by continuing the

 2          case as requested outweigh the interest of the public and the defendant in a trial within the

 3          original date prescribed by the Speedy Trial Act.

 4                 h)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 5          et seq., within which trial must commence, the time period of October 8, 2020 to October 22,

 6          2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

 7          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

 8          of the Court’s finding that the ends of justice served by taking such action outweigh the best

 9          interest of the public and the defendants in a speedy trial.

10          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

11 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

12 must commence.

13          IT IS SO STIPULATED.

14
      Dated: October 7, 2020                                  MCGREGOR W. SCOTT
15                                                            United States Attorney
16
                                                              /s/ CAMERON L. DESMOND
17                                                            CAMERON L. DESMOND
                                                              Assistant United States Attorney
18

19    Dated: October 7, 2020                                  /s/ Steve Whitworth
                                                              STEVE WHITWORTH
20                                                            Counsel for Defendant
                                                              Roselle Cipriano
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22
                                            FINDINGS AND ORDER
23
            IT IS SO ORDERED.
24
     Dated: October 13, 2020
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      STIPULATION REGARDING EXCLUDABLE TIME               4
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